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     1   KEKER, VAN NEST & PETERS LLP
         ELLIOT R. PETERS #158708
     2   epeters@keker.com
         WARREN A. BRAUNIG #243884
     3   wbraunig@keker.com
         ELIZABETH K. MCCLOSKEY #268184
     4   emccloskey@keker.com
         NICHOLAS S. GOLDBERG #273614
     5   ngoldberg@keker.com
         ANN NIEHAUS #325474
     6   aniehaus@keker.com
         CHRISTI ZALESKI #331727
     7   czaleski@keker.com
         633 Battery Street
     8   San Francisco, CA 94111-1809
         Telephone: 415 391 5400
     9   Facsimile: 415 397 7188
    10   Attorneys for Defendant
         COMMERCIAL REAL ESTATE EXCHANGE, INC.
    11

    12
                             UNITED STATES DISTRICT COURT
    13
                           CENTRAL DISTRICT OF CALIFORNIA
    14
                                      WESTERN DIVISION
    15
         COSTAR GROUP, INC., AND                 Case No. 2:20-CV-8819 CBM (ASx)
    16   COSTAR REALTY INFORMATION,
         INC.,                                   DEFENDANT COMMERCIAL REAL
    17                                           ESTATE EXCHANGE, INC.’S
                         Plaintiff,              ANSWER TO PLAINTIFFS COSTAR
    18                                           GROUP, INC., AND COSTAR
               v.                                REALTY INFORMATION, INC.’S
    19                                           FIRST AMENDED COMPLAINT
         COMMERCIAL REAL ESTATE
    20   EXCHANGE, INC.,                         Ctrm:       8B
                                                 Judge:      Hon. Consuelo B. Marshall
    21                   Defendant.
                                                 Date Filed September 25, 2020
    22
                                                 Trial Date: None set
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                      CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
                                   Case No. 2:20-CV-8819 CBM (ASx)
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     1                                           ANSWER
     2             Defendant Commercial Real Estate Exchange, Inc. (“CREXi”) answers the
     3   First Amended Complaint of Plaintiffs CoStar Group, Inc. and CoStar Realty
     4   Information, Inc. (collectively, “CoStar”) as follows:
     5             CREXi is an innovative and fast-growing commercial real estate marketplace
     6   and technology platform. CoStar is a $35 billion industry behemoth that has made
     7   a habit of abusing the court system to compensate for its product shortcomings and
     8   guard its market power. Rather than compete in a fair and open market, CoStar
     9   pursues aggressive litigation and public-relations warfare against its rivals to
    10   suppress innovation and bully competitors that are succeeding where CoStar has
    11   failed.
    12             This litigation is not about protecting CoStar’s generic images of commercial
    13   real estate or supposedly “proprietary” information. Rather, this litigation is just
    14   another attempt by CoStar to debilitate a more innovative company that is
    15   disrupting CoStar’s long-standing dominant position with better products and
    16   services. CREXi responds herein to CoStar’s baseless complaint, and at the same
    17   time, files counterclaims against CoStar, to hold CoStar responsible for its unlawful
    18   conduct.
    19                              PRELIMINARY STATEMENT1
    20             1.    CREXi lacks sufficient information to admit or deny the allegations
    21   related to CoStar’s state of mind, and, on that basis, denies them. CREXi denies
    22   the remaining allegations of Paragraph 1.
    23             2.    CREXi admits that CoStar controls substantial shares in the internet
    24   commercial real estate listings, information, and auction services markets. CREXi
    25   lacks sufficient information to admit or deny the remaining allegations of Paragraph
    26   2, and, on that basis, denies them.
    27   1
         CREXi denies each and every allegation of Plaintiff’s Complaint—including the
    28 headings,  footnotes and captions—not specifically admitted or otherwise responded
       to in this Answer.
                                               1
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1             3.   CREXi admits that it operates an online commercial real estate
     2   marketplace and auction platform. CREXi denies that data and information
     3   regarding commercial real estate that is housed in CoStar databases is owned, or
     4   otherwise proprietary to CoStar. CREXi further denies that the data and
     5   information regarding commercial real estate that CoStar chooses to make publicly
     6   available on LoopNet is owned, or otherwise proprietary to CoStar. CREXi denies
     7   the remaining allegations of Paragraph 3.
     8             4.   CREXi admits that CoStar has employed anticompetitive technological
     9   measures to block CREXi from accessing publicly available commercial real estate
    10   listing information on LoopNet. CREXi lacks sufficient information to admit or
    11   deny the remaining allegations related to CoStar, and, on that basis, denies them.
    12   CREXi denies the remaining allegations of Paragraph 4.
    13             5.   CREXi lacks sufficient information to admit or deny the allegations
    14   related to CoStar, and, on that basis, denies them. Paragraph 5 sets forth a
    15   conclusion of law to which no response is required. To the extent a response is
    16   required, CREXi denies the remaining allegations of Paragraph 5.
    17             6.   CREXi admits that it was founded in 2015, and that it has raised
    18   approximately $55,000,000 to date, including a $30 million Series A-1 funding
    19   announced in January 2020. CREXi denies the remaining allegations of Paragraph
    20   6.
    21             7.   Paragraph 7 sets forth a conclusion of law to which no response is
    22   required. To the extent a response is required, CREXi admits that Mr. Hamlin was
    23   previously employed at CREXi, and Mr. Padfield and Mr. Hanna are presently
    24   employed at CREXi. CREXi further admits that Mr. Hamlin and Mr. Padfield,
    25   without CREXi’s authorization, accessed CoStar using log-in credentials they
    26   received prior to joining CREXi. CREXi denies that its managers or employees
    27   have created LoopNet accounts using non-CREXi email addresses and pseudonyms
    28   to “cover their tracks” or to avoid “being caught.” CREXi admits that Mr. Hanna
                                                     2
                          CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1   has visited LoopNet using accounts associated with non-CREXi email addresses.
     2   CREXi denies that data and information regarding commercial real estate that is
     3   housed in CoStar databases is owned, or otherwise proprietary to CoStar. CREXi
     4   denies any remaining allegations of Paragraph 7.
     5             8.    Paragraph 8 sets forth a conclusion of law to which no response is
     6   required. To the extent a response is required, CREXi denies the allegations
     7   included in the first sentence of Paragraph 8. CREXi admits that certain of its
     8   employees, including Mr. Rosenfeld, have signed up to receive property alerts from
     9   LoopNet. CREXi lacks sufficient information to admit or deny the remaining
    10   allegations included in the second and third sentences of Paragraph 8, and on that
    11   basis, denies them. CREXi denies the remaining allegations of Paragraph 8.
    12             9.    Paragraph 9 sets forth a conclusion of law to which no response is
    13   required. To the extent a response is required, CREXi admits that its employees
    14   have made presentations regarding the company’s product offerings. CREXi also
    15   admits that Mr. Rosenfeld and Mr. Cohen are presently employed at CREXi.
    16   CREXi denies the remaining allegations of Paragraph 9.
    17             10.   CREXi lacks sufficient information to admit or deny the allegations
    18   related to CoStar, and, on that basis, denies them. Paragraph 10 sets forth a
    19   conclusion of law to which no response is required. To the extent a response is
    20   required, CREXi notes that, pursuant to the Court’s June 9, 2021 Order on CREXi’s
    21   motion to dismiss, CoStar’s logo does not, as a matter of law, constitute copyright
    22   management information. CREXi denies any remaining allegations of Paragraph
    23   10.
    24             11.   CREXi lacks sufficient information to admit or deny the allegations
    25   related to CoStar and unidentified third-party brokers, and, on that basis, denies
    26   them. Paragraph 11 sets forth a conclusion of law to which no response is required.
    27   To the extent a response is required, CREXi denies any remaining allegations of
    28   Paragraph 11.
                                                     3
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1             12.   CREXi lacks sufficient information to admit or deny the allegations
     2   related to unidentified commercial real estate marketplace sites, and, on that basis,
     3   denies them. Paragraph 12 sets forth a conclusion of law to which no response is
     4   required. To the extent a response is required, CREXi denies any remaining
     5   allegations of Paragraph 12.
     6             13.   CREXi denies that CoStar’s anticompetitive conduct reflects “industry
     7   norms” or “benefit[s] competition.” To the contrary, CoStar’s anticompetitive
     8   conduct harms consumers and is unlawful. CREXi lacks sufficient information to
     9   admit or deny the allegations related to CoStar, and, on that basis, denies them.
    10   Paragraph 13 sets forth a conclusion of law to which no response is required. To
    11   the extent a response is required, CREXi denies any remaining allegations of
    12   Paragraph 13.
    13             14.   Paragraph 14 sets forth a conclusion of law to which no response is
    14   required. To the extent a response is required, CREXi denies any remaining
    15   allegations of Paragraph 14.
    16             15.   CREXi admits that CoStar has filed several lawsuits against
    17   competitors and customers as part of its anticompetitive scheme to further its
    18   monopoly position. CREXi admits that CoStar sued Xceligent, in an effort to drive
    19   Xceligent out of business and to remove a major competitor from the marketplace.
    20   CREXi lacks sufficient information to admit or deny the remaining allegations
    21   related to CoStar, Xceligent, and other unidentified rivals of CoStar’s, and, on that
    22   basis, denies them. Paragraph 15 sets forth a conclusion of law to which no
    23   response is required. To the extent a response is required, CREXi denies any
    24   remaining allegations of Paragraph 15.
    25             16.   CREXi lacks sufficient information to admit or deny the allegations
    26   related to CoStar and Xceligent, and, on that basis, denies them. Paragraph 16 sets
    27   forth a conclusion of law to which no response is required. To the extent a response
    28   is required, CREXi denies any remaining allegations of Paragraph 16.
                                                     4
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1             17.   Paragraph 17 sets forth a conclusion of law to which no response is
     2   required. To the extent a response is required, CREXi admits that Mr. DeGiorgio is
     3   the CEO of CREXi and that Mr. DeGiorgio and Mr. Morris are Co-Founders of
     4   CREXi. CREXi further admits that, in 2016, Ten-X filed suit against Mr.
     5   DeGiorgio and CREXi, and a preliminary injunction was entered against CREXi;
     6   the parties eventually resolved that dispute. CREXi further admits a Ten-X press
     7   release attributed the following quote to Mr. DeGiorgio: “We apologize to Ten-X
     8   for the actions which led to this lawsuit. I regret my conduct at the time I departed
     9   Ten-X and believe that the settlement is a fair resolution.” CREXi denies that
    10   CoStar is using the quote set forth in Paragraph 17 in context or that the implication
    11   is the one that CoStar intends to draw from it. CREXi denies any remaining
    12   allegations of Paragraph 17.
    13             18.   CREXi denies the allegations of Paragraph 18.
    14                                      BACKGROUND
    15             19.   CREXi lacks sufficient information to admit or deny the allegations
    16   related to CoStar, and, on that basis, denies the allegations of Paragraph 19.
    17             20.   CREXi lacks sufficient information to admit or deny the allegations
    18   related to CoStar, and, on that basis, denies the allegations of Paragraph 20.
    19             21.   CREXi lacks sufficient information to admit or deny the allegations
    20   related to CoStar, and, on that basis, denies the allegations of Paragraph 21.
    21             22.   CREXi lacks sufficient information to admit or deny the allegations
    22   related to CoStar, and, on that basis, denies the allegations of Paragraph 22.
    23             23.   CREXi lacks sufficient information to admit or deny the allegations
    24   related to CoStar and other commercial real estate marketplaces, and, on that basis,
    25   denies the allegations of Paragraph 23.
    26             24.   CREXi admits that it was founded in 2015 by Mr. DeGiorgio, Mr.
    27   Morris, Mr. Benz, and Mr. Widhelm, and that Mr. DeGiorgio, Mr. Morris, and Mr.
    28   Benz previously worked for Auction.com. CREXi further admits that its website
                                                     5
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1   allows users to view commercial real estate listings across the country, and that it
     2   runs an online auction marketplace. CREXi also admits that it has described itself
     3   as “a commercial real estate marketplace that simplifies transactions for brokers
     4   with a suite of easy-to-use tools to manage the entire process from listing to
     5   closing.” CREXi denies any remaining allegations of Paragraph 24.
     6             25.   CREXi admits that certain of the quoted language in Paragraph 25 has
     7   appeared in various presentations and podcasts over time, though CREXi denies
     8   that CoStar is using the quotes set forth in Paragraph 25 in context or that the
     9   implications are the ones that CoStar intends to draw from them. CREXi denies
    10   any remaining allegations of Paragraph 25.
    11             26.   CREXi lacks sufficient information to admit or deny the allegations in
    12   the second sentence of Paragraph 26, and, on that basis, denies them. CREXi
    13   denies the remaining allegations of Paragraph 26.
    14             27.   CREXi lacks sufficient information to admit or deny the allegations in
    15   the second sentence of Paragraph 27, and, on that basis, denies them. CREXi
    16   denies the remaining allegations of Paragraph 27.
    17             28.   Paragraph 28 sets forth a conclusion of law to which no response is
    18   required. To the extent a response is required, CREXi denies any remaining
    19   allegations of Paragraph 28.
    20             29.   CREXi lacks sufficient information to admit or deny the allegations
    21   related to CoStar, and, on that basis, denies them. Paragraph 29 sets forth a
    22   conclusion of law to which no response is required. To the extent a response is
    23   required, CREXi admits that certain of its employees, without CREXi’s
    24   authorization, accessed CoStar using log-in credentials they obtained prior to
    25   joining CREXi. CREXi denies that data and information regarding commercial real
    26   estate that is housed in CoStar databases is owned, or otherwise proprietary to
    27   CoStar. CREXi denies any remaining allegations of Paragraph 29.
    28

                                                     6
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1             30.   CREXi admits that Mr. Hamlin was previously employed at CREXi,
     2   and that prior to joining CREXi, he was employed at Colliers. CREXi further
     3   admits that Mr. Hamlin, without CREXi’s authorization, accessed CoStar using
     4   log-in credentials he obtained prior to joining CREXi. CREXi lacks sufficient
     5   information to admit or deny the remaining allegations of Paragraph 30, and on that
     6   basis, denies them.
     7             31.   CREXi lacks sufficient information to admit or deny the allegations
     8   related to CoStar, and, on that basis, denies them. Paragraph 31 sets forth a
     9   conclusion of law to which no response is required. To the extent a response is
    10   required, CREXi admits that it resolved litigation against Ten-X in 2017, and that
    11   settlement included a payment of $1.6 million to Ten-X. CREXi denies any
    12   remaining allegations of Paragraph 31.
    13             32.   CREXi lacks sufficient information to admit or deny the allegations
    14   related to CoStar, and, on that basis, denies them. Paragraph 32 sets forth a
    15   conclusion of law to which no response is required. To the extent a response is
    16   required, CREXi admits that certain of its employees have, at times, visited
    17   LoopNet, a publicly available website, just as CoStar did in the past before it
    18   acquired LoopNet and just as CoStar employees have visited CREXi more recently.
    19   CREXi further admits that CoStar has deployed anticompetitive “technological
    20   blocking efforts” to restrict CREXi’s access to public commercial real estate
    21   listings available on LoopNet. CREXi denies that the data and information
    22   regarding commercial real estate that CoStar chooses to make publicly available on
    23   LoopNet is owned, or otherwise proprietary to CoStar. CREXi denies any
    24   remaining allegations of Paragraph 32, including that its employees have copied, en
    25   masse, property listings from CoStar.
    26             33.   CREXi denies that its employees have created LoopNet accounts using
    27   non-CREXi email addresses and pseudonyms to “mask their work.” CREXi admits
    28   that certain of its employees have created accounts on LoopNet. CREXi further
                                                     7
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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     1   admits that certain of its employees have signed up to receive property alerts from
     2   LoopNet. CREXi denies any remaining allegations of Paragraph 33.
     3             34.   CREXi lacks sufficient information to admit or deny the allegations
     4   related to CoStar, and, on that basis, denies them. Paragraph 34 sets forth a
     5   conclusion of law to which no response is required. To the extent a response is
     6   required, CREXi denies that the data and information regarding commercial real
     7   estate that CoStar chooses to make publicly available on LoopNet is owned, or
     8   otherwise proprietary to CoStar. CREXi denies any remaining allegations of
     9   Paragraph 34.
    10             35.   Paragraph 35 sets forth a conclusion of law to which no response is
    11   required. To the extent a response is required, CREXi lacks sufficient information
    12   to admit or deny the allegations of Paragraph 35, including because Paragraph 35
    13   does not identify the address of the property depicted in that paragraph, and, on that
    14   basis, CREXi denies the allegations.
    15             36.   Paragraph 36 sets forth a conclusion of law to which no response is
    16   required. To the extent a response is required, CREXi lacks sufficient information
    17   to admit or deny the allegations of Paragraph 36, including because Paragraph 36
    18   does not identify the address of the property depicted in that paragraph, and, on that
    19   basis, CREXi denies the allegations.
    20             37.   CREXi lacks sufficient information to admit or deny the allegations
    21   related to CoStar, and, on that basis, denies them. Paragraph 37 sets forth a
    22   conclusion of law to which no response is required. To the extent a response is
    23   required, CREXi denies any remaining allegations of Paragraph 37.
    24             38.   Paragraph 38 sets forth a conclusion of law to which no response is
    25   required. To the extent a response is required, CREXi notes that, pursuant to the
    26   Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not,
    27   as a matter of law, constitute copyright management information. CREXi denies
    28   any remaining allegations of Paragraph 38.
                                                     8
                           CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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      1             39.   Paragraph 39 sets forth a conclusion of law to which no response is
      2   required. To the extent a response is required, CREXi notes that, pursuant to the
      3   Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not,
      4   as a matter of law, constitute copyright management information. CREXi denies
      5   the allegations included in the first sentence of Paragraph 39. CREXi lacks
      6   sufficient information to admit or deny the allegations included in the second
      7   sentence of Paragraph 39, and, on that basis, denies them.
      8             40.   CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
      9   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
     10   copyright management information. CREXi denies the allegations included in the
     11   first sentence of Paragraph 40. CREXi lacks sufficient information to admit or
     12   deny the allegations included in the second sentence of Paragraph 40, and, on that
     13   basis, denies them.
     14             41.   Paragraph 41 sets forth a conclusion of law to which no response is
     15   required. To the extent a response is required, CREXi denies any remaining
     16   allegations of Paragraph 41.
     17                               JURISDICTION AND VENUE
     18             42.   CREXi admits that 28 U.S.C. §§ 1331 and 1338 confer jurisdiction
     19   upon this Court as to claims arising under the copyright laws and claims arising
     20   under the law of the United States. CREXi further admits that 28 U.S.C. § 1367
     21   confers supplemental jurisdiction upon this Court as to the alleged state law claims.
     22   CREXi denies any remaining allegations of Paragraph 42.
     23             43.   CREXi admits that this Court has personal jurisdiction over it. CREXi
     24   admits that it is headquartered and has its principal place of business in Marina Del
     25   Ray, California, and that it conducts business within this State. CREXi denies any
     26   remaining allegations of Paragraph 43.
     27             44.   CREXi admits that venue is proper in the Central District of
     28   California. CREXi denies any remaining allegations of Paragraph 44.
                                                      9
                            CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
                                         Case No. 2:20-CV-8819 CBM (ASx)
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      1                                       THE PARTIES
      2             45.   CREXi lacks sufficient information to admit or deny the allegations
      3   related to CoStar, and, on that basis, denies the allegations of Paragraph 45.
      4             46.   CREXi lacks sufficient information to admit or deny the allegations
      5   related to CoStar, and, on that basis, denies the allegations of Paragraph 46.
      6             47.   CREXi admits that it is a corporation organized under the laws of
      7   Delaware, and that it is headquartered and has its principal place of business in
      8   Marina Del Ray, California. CREXi further admits that its most recent California
      9   Statement of Information lists its entity address as 4086 Del Rey Avenue, Marina
     10   Del Rey, CA 90292. CREXi denies the remaining allegations of Paragraph 47.
     11                                FACTUAL ALLEGATIONS
     12             48.   CREXi lacks sufficient information to admit or deny the allegations
     13   related to CoStar, and, on that basis, denies the allegations of Paragraph 48.
     14             49.   CREXi admits, on information, that CoStar offers a product that
     15   provides access to an internet database containing commercial real estate
     16   information. CREXi lacks sufficient information to admit or deny the remaining
     17   allegations related to CoStar, and, on that basis, denies the allegations of Paragraph
     18   49.
     19             50.   CREXi lacks sufficient information to admit or deny the allegations
     20   related to CoStar, and, on that basis, denies the allegations of Paragraph 50.
     21             51.   CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar, and, on that basis, denies the allegations of Paragraph 51.
     23             52.   CREXi lacks sufficient information to admit or deny the allegations
     24   related to CoStar, and, on that basis, denies the allegations of Paragraph 52.
     25             53.   CREXi lacks sufficient information to admit or deny the allegations
     26   related to CoStar and unidentified third-parties, and, on that basis, denies the
     27   allegations of Paragraph 53.
     28

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                            CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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      1             54.   CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and unidentified third parties, and, on that basis, denies the
      3   allegations of Paragraph 54.
      4             55.   CREXi admits, on information, that LoopNet is an online commercial
      5   real estate listing service. CREXi lacks sufficient information to admit or deny the
      6   remaining allegations related to CoStar and, on that basis, denies the allegations of
      7   Paragraph 55.
      8             56.   CREXi lacks sufficient information to admit or deny the allegations
      9   related to CoStar and unidentified third parties, on that basis, denies them.
     10   Paragraph 56 sets forth a conclusion of law to which no response is required. To
     11   the extent a response is required, CREXi denies any remaining allegations of
     12   Paragraph 56.
     13             57.   CREXi lacks sufficient information to admit or deny the allegations
     14   related to CoStar and unidentified third parties, on that basis, denies the allegations
     15   of Paragraph 57.
     16             58.   CREXi lacks sufficient information to admit or deny the allegations
     17   related to CoStar and unidentified third parties, and, on that basis, denies the
     18   allegations of Paragraph 58.
     19             59.   CREXi lacks sufficient information to admit or deny the allegations
     20   related to CoStar and unidentified third parties, on that basis, denies the allegations
     21   of Paragraph 59.
     22             60.   CREXi denies that CoStar has “fought to outwork and outperform the
     23   competition through constant innovation and reinvestment over three decades.”
     24   Rather, CoStar has achieved its monopoly power through a series of acquisitions
     25   and anticompetitive practices that have entrenched its monopoly power and driven
     26   competitors out of the industry. CREXi lacks sufficient information to admit or
     27   deny the remaining allegations related to CoStar and, on that basis, denies the
     28   allegations of Paragraph 60.
                                                     11
                            CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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      1             61.   CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and unidentified third parties, and, on that basis, denies them.
      3   Paragraph 61 sets forth a conclusion of law to which no response is required. To
      4   the extent a response is required, CREXi denies any remaining allegations of
      5   Paragraph 61.
      6             62.   CREXi lacks sufficient information to admit or deny the allegations
      7   related to CoStar and, on that basis, denies them. Paragraph 62 sets forth a
      8   conclusion of law to which no response is required. To the extent a response is
      9   required, CREXi denies any remaining allegations of Paragraph 62.
     10             63.   CREXi lacks sufficient information to admit or deny the allegations
     11   related to CoStar and, on that basis, denies them. Paragraph 63 sets forth a
     12   conclusion of law to which no response is required. To the extent a response is
     13   required, CREXi denies any remaining allegations of Paragraph 63.
     14             64.   CREXi lacks sufficient information to admit or deny the allegations
     15   related to CoStar and, on that basis, denies them. Paragraph 64 sets forth a
     16   conclusion of law to which no response is required. To the extent a response is
     17   required, CREXi denies any remaining allegations of Paragraph 64.
     18             65.   CREXi lacks sufficient information to admit or deny the allegations
     19   related to CoStar and, on that basis, denies them. Paragraph 65 sets forth a
     20   conclusion of law to which no response is required. To the extent a response is
     21   required, CREXi notes that, pursuant to the Court’s June 9, 2021 Order on CREXi’s
     22   motion to dismiss, CoStar’s logo does not, as a matter of law, constitute copyright
     23   management information. CREXi denies any remaining allegations of Paragraph
     24   65.
     25             66.   CREXi lacks sufficient information to admit or deny the allegations
     26   related to CoStar, Xceligent and unidentified third parties, and, on that basis, denies
     27   them. Paragraph 66 sets forth a conclusion of law to which no response is required.
     28   To the extent a response is required, CREXi notes that, pursuant to the Court’s
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      1   June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not, as a
      2   matter of law, constitute copyright management information. CREXi denies any
      3   remaining allegations of Paragraph 66.
      4             67.   CREXi lacks sufficient information to admit or deny the allegations
      5   related to CoStar and, on that basis, denies them. Paragraph 67 sets forth a
      6   conclusion of law to which no response is required. To the extent a response is
      7   required, CREXi denies any remaining allegations of Paragraph 67.
      8             68.   CREXi lacks sufficient information to admit or deny the allegations
      9   related to CoStar and, on that basis, denies them. Paragraph 68 sets forth a
     10   conclusion of law to which no response is required. To the extent a response is
     11   required, CREXi denies any remaining allegations of Paragraph 68.
     12             69.   CREXi lacks sufficient information to admit or deny the allegations
     13   related to CoStar and, on that basis, denies them. Paragraph 69 sets forth a
     14   conclusion of law to which no response is required. To the extent a response is
     15   required, CREXi denies any remaining allegations of Paragraph 69.
     16             70.   CREXi lacks sufficient information to admit or deny the allegations
     17   related to CoStar and, on that basis, denies the allegations of Paragraph 70.
     18             71.   CREXi lacks sufficient information to admit or deny the allegations
     19   related to CoStar and, on that basis, denies them. Paragraph 71 sets forth a
     20   conclusion of law to which no response is required. To the extent a response is
     21   required, CREXi denies any remaining allegations of Paragraph 71.
     22             72.   CREXi lacks sufficient information to admit or deny the allegations
     23   related to CoStar and, on that basis, denies them. Paragraph 72 sets forth a
     24   conclusion of law to which no response is required. To the extent a response is
     25   required, CREXi denies any remaining allegations of Paragraph 72.
     26             73.   CREXi lacks sufficient information to admit or deny the allegations
     27   related to CoStar and, on that basis, denies the allegations of Paragraph 73.
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      1             74.   CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and, on that basis, denies them. Paragraph 74 sets forth a
      3   conclusion of law to which no response is required. To the extent a response is
      4   required, CREXi denies any remaining allegations of Paragraph 74.
      5             75.   CREXi lacks sufficient information to admit or deny the allegations
      6   related to CoStar and, on that basis, denies them. Paragraph 75 sets forth a
      7   conclusion of law to which no response is required. To the extent a response is
      8   required, CREXi denies any remaining allegations of Paragraph 75.
      9             76.   CREXi lacks sufficient information to admit or deny the allegations
     10   related to CoStar and, on that basis, denies them. To the extent Paragraph 76 refers
     11   to a document, no response is required as the document speaks for itself. CREXi
     12   denies any remaining allegations of Paragraph 76.
     13             77.   CREXi lacks sufficient information to admit or deny the allegations
     14   related to CoStar and, on that basis, denies them. To the extent Paragraph 77 refers
     15   to a document, no response is required as the document speaks for itself. CREXi
     16   denies any remaining allegations of Paragraph 77.
     17             78.   CREXi lacks sufficient information to admit or deny the allegations
     18   related to CoStar and, on that basis, denies them. To the extent Paragraph 78 refers
     19   to a document, no response is required as the document speaks for itself. Paragraph
     20   78 sets forth a conclusion of law to which no response is required. To the extent a
     21   response is required, CREXi admits that the quoted language in Paragraph 78
     22   appears in CoStar’s Terms of Use. CREXi denies any remaining allegations of
     23   Paragraph 78.
     24             79.   CREXi lacks sufficient information to admit or deny the allegations
     25   related to CoStar and, on that basis, denies them. To the extent Paragraph 79 refers
     26   to a document, no response is required as the document speaks for itself. Paragraph
     27   79 sets forth a conclusion of law to which no response is required. To the extent a
     28   response is required, CREXi denies any remaining allegations of Paragraph 79.
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      1             80.   CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and, on that basis, denies them. To the extent Paragraph 80 refers
      3   to a document, no response is required as the document speaks for itself. Paragraph
      4   80 sets forth a conclusion of law to which no response is required. To the extent a
      5   response is required, CREXi denies any remaining allegations of Paragraph 80.
      6             81.   CREXi lacks sufficient information to admit or deny the allegations
      7   related to CoStar and, on that basis, denies them. Paragraph 81 sets forth a
      8   conclusion of law to which no response is required. To the extent a response is
      9   required, CREXi denies any remaining allegations of Paragraph 81.
     10             82.   CREXi lacks sufficient information to admit or deny the allegations
     11   related to CoStar and, on that basis, denies them. Paragraph 82 sets forth a
     12   conclusion of law to which no response is required. To the extent a response is
     13   required, CREXi denies any remaining allegations of Paragraph 82.
     14             83.   CREXi lacks sufficient information to admit or deny the allegations
     15   related to CoStar and, on that basis, denies them. Paragraph 83 sets forth a
     16   conclusion of law to which no response is required. To the extent a response is
     17   required, CREXi denies any remaining allegations of Paragraph 83.
     18             84.   CREXi lacks sufficient information to admit or deny the allegations
     19   related to CoStar and, on that basis, denies them. CREXi denies any remaining
     20   allegations of Paragraph 84.
     21             85.   CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar and, on that basis, denies them. Paragraph 85 sets forth a
     23   conclusion of law to which no response is required. To the extent a response is
     24   required, CREXi denies any remaining allegations of Paragraph 85.
     25             86.   The allegations in Paragraph 86 are vague and ambiguous, and, on that
     26   basis, CREXi denies them. CREXi lacks sufficient information to admit or deny
     27   the allegations related to CoStar and, on that basis, denies the remaining allegations
     28   of Paragraph 86.
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      1             87.   CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and, on that basis, denies them. Paragraph 87 sets forth a
      3   conclusion of law to which no response is required. To the extent a response is
      4   required, CREXi denies any remaining allegations of Paragraph 87.
      5             88.   CREXi lacks sufficient information to admit or deny the allegations
      6   related to CoStar and, on that basis, denies them. To the extent Paragraph 88 refers
      7   to a document, no response is required as the document speaks for itself. Paragraph
      8   88 sets forth a conclusion of law to which no response is required. To the extent a
      9   response is required, CREXi denies any remaining allegations of Paragraph 88.
     10             89.   CREXi lacks sufficient information to admit or deny the allegations
     11   related to CoStar and, on that basis, denies them. To the extent Paragraph 89 refers
     12   to a document, no response is required as the document speaks for itself. Paragraph
     13   89 sets forth a conclusion of law to which no response is required. To the extent a
     14   response is required, CREXi admits that the quoted language in Paragraph 89
     15   appears in LoopNet’s Terms and Conditions. CREXi denies any remaining
     16   allegations of Paragraph 89.
     17             90.   CREXi lacks sufficient information to admit or deny the allegations
     18   related to CoStar and, on that basis, denies them. To the extent Paragraph 90 refers
     19   to a document, no response is required as the document speaks for itself. Paragraph
     20   90 sets forth a conclusion of law to which no response is required. To the extent a
     21   response is required, CREXi admits that the quoted language in Paragraph 90
     22   appears in LoopNet’s Terms and Conditions. CREXi denies any remaining
     23   allegations of Paragraph 90.
     24             91.   CREXi denies that “the market for commercial real estate information
     25   is intensely competitive” and that “[c]ompetitors to CoStar spring up on a regular
     26   basis.” CREXi lacks sufficient information to admit or deny the remaining
     27   allegations related to CoStar and, on that basis, denies them. Paragraph 91 sets
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      1   forth a conclusion of law to which no response is required. To the extent a response
      2   is required, CREXi denies any remaining allegations of Paragraph 91.
      3             92.   CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar and, on that basis, denies them. Paragraph 92 sets forth a
      5   conclusion of law to which no response is required. To the extent a response is
      6   required, CREXi denies any remaining allegations of Paragraph 92.
      7             93.   CREXi admits that CoStar may not restrict brokerages or individual
      8   brokers from providing their own photographs and information to third-parties,
      9   including CREXi. CREXi lacks sufficient information to admit or deny the
     10   allegations related to CoStar and unidentified third parties, and, on that basis,
     11   denies them. Paragraph 93 sets forth a conclusion of law to which no response is
     12   required. To the extent a response is required, CREXi denies any remaining
     13   allegations of Paragraph 93.
     14             94.   CREXi lacks sufficient information to admit or deny the allegations
     15   related to CoStar and, on that basis, denies them. Paragraph 94 sets forth a
     16   conclusion of law to which no response is required. To the extent a response is
     17   required, CREXi denies any remaining allegations of Paragraph 94.
     18             95.   CREXi lacks sufficient information to admit or deny the allegations
     19   related to CoStar and, on that basis, denies them. Paragraph 95 sets forth a
     20   conclusion of law to which no response is required. To the extent a response is
     21   required, CREXi denies any remaining allegations of Paragraph 95.
     22             96.   CREXi lacks sufficient information to admit or deny the allegations
     23   related to CoStar and, on that basis, denies them. Paragraph 96 sets forth a
     24   conclusion of law to which no response is required. To the extent a response is
     25   required, CREXi denies any remaining allegations of Paragraph 96.
     26             97.   CREXi lacks sufficient information to admit or deny the allegations
     27   related to CoStar and, on that basis, denies them. Paragraph 97 sets forth a
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      1   conclusion of law to which no response is required. To the extent a response is
      2   required, CREXi denies any remaining allegations of Paragraph 97.
      3             98.   CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar and, on that basis, denies them. Paragraph 98 sets forth a
      5   conclusion of law to which no response is required. To the extent a response is
      6   required, CREXi denies any remaining allegations of Paragraph 98.
      7             99.   CREXi lacks sufficient information to admit or deny the allegations
      8   related to CoStar and, on that basis, denies them. CREXi denies that commercial
      9   real estate information or data is proprietary to or owned by CoStar. Paragraph 99
     10   sets forth a conclusion of law to which no response is required. To the extent a
     11   response is required, CREXi denies any remaining allegations of Paragraph 99.
     12             100. CREXi admits that, a May 15, 2020 event attributes the following
     13   quote to Mr. Cohen: “We by far have more listings than the competitors out there,
     14   the other sites you might be using. So go and check that. We have more listings in
     15   most markets across the USA.” CREXi further admits that a June 19, 2020 event
     16   attributes the following quotes to Mr. Cohen: CREXi is the “place where all the
     17   listings are” and “We have all the listings for the market—they’re already in there.”
     18   CREXi denies that CoStar is using the quotes set forth in Paragraph 100 in context
     19   or that the implications are the ones that CoStar intends to draw from them. CREXi
     20   denies the remaining allegations of Paragraph 100.
     21             101. CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar and, on that basis, denies them. CREXi admits that it has made
     23   significant investments of time and resources in the development of its commercial
     24   real estate database, and that it employs approximately 125 employees and has
     25   raised approximately $55 million in funding to date. CREXi denies any remaining
     26   allegations of Paragraph 101.
     27             102. CREXi admits that a post on socaltech.com attributes the following
     28   quote to Mr. DeGiorgio: “We also want to ad [sic] more and more properties, and
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      1   so far we’ve loaded up the marketplace. Last month we had 73 properties in the
      2   marketplace, and now we have over 350. We’re proving out that this method really
      3   benefits the people on the site.” CREXi denies that CoStar is using the quote set
      4   forth in Paragraph 102 in context or that the implication is the one that CoStar
      5   intends to draw from it. CREXi denies any remaining allegations of Paragraph 102.
      6             103. CREXi admits that Mr. Randel serves as its Chief Strategy Officer and
      7   was previously employed at Cohen Financial as Director Capital Markets. CREXi
      8   further admits that a September 8, 2020 Everything Marketplaces Group Chat
      9   podcast attributes the following quotes to Mr. Randel: “[S]upply begets demand,
     10   and then the second half of that recipe or equation is demand begets monetization.
     11   So first and foremost, nobody wants to shop in an empty store, so you better stock
     12   the shelves with supply. We did that by befriending our customer and the broker
     13   and creating a low-friction, free product which was very painless to use and say
     14   ‘hey why not.’” CREXi denies that CoStar is using the quote set forth in Paragraph
     15   103 in context or that the implication is the one that CoStar intends to draw from it.
     16   CREXi denies any remaining allegations of Paragraph 103.
     17             104. Paragraph 104 sets forth a conclusion of law to which no response is
     18   required. To the extent a response is required, CREXi admits that Mr. Cors is
     19   presently employed at CREXi. CREXi further admits that a May 4, 2020 TECH
     20   NEST podcast attributes the following quote to Mr. Cors: “We’ve got over 100,000
     21   for-sale properties, over 200,000 for-lease properties, all active on the platform
     22   today. We’re adding, you know, thousands of properties a week on here, on both
     23   sides of the marketplace, the for-sale and the for-lease side.” CREXi denies that
     24   CoStar is using the quote set forth in Paragraph 104 in context or that the
     25   implication is the one that CoStar intends to draw from it. CREXi further admits
     26   that Mr. DeGiorgio is the CEO and Co-Founder of CREXi, and that Season 1,
     27   Episode 5 of the Two-Sided podcast attributes the following quote to Mr.
     28   DeGiorgio: “And then, another thing we were really [] forward thinking on was
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      1   ensuring that when we brought that supply, that we also built tools that let the
      2   supply bring their own demand. So really, by us letting the supply side use it for
      3   free, it got us demand for free, too, because we had all these tools within that would
      4   really incentivize the broker to want to bring their own buyers and bring the
      5   demand side of commercial real estate to the platform also.” CREXi denies that
      6   CoStar is using the quote set forth in Paragraph 104 in context or that the
      7   implication is the one that CoStar intends to draw from it. CREXi denies any
      8   remaining allegations of Paragraph 104.
      9             105. CREXi lacks sufficient information to admit or deny the allegations
     10   related to CoStar and, on that basis, denies them. Paragraph 105 sets forth a
     11   conclusion of law to which no response is required. To the extent a response is
     12   required, CREXi admits that it has made significant investments of time and
     13   resources in the development of its commercial real estate database. CREXi further
     14   admits that Mr. Cohen is presently employed at CREXi. CREXi denies any
     15   remaining allegations of Paragraph 105.
     16             106. Paragraph 106 sets forth a conclusion of law to which no response is
     17   required. To the extent a response is required, CREXi admits that it has made
     18   significant investments of time and resources in the development of its commercial
     19   real estate database. CREXi further admits that Mr. DeGiorgio is the CEO and Co-
     20   Founder of CREXi. CREXi further admits that a July 20, 2020 Los Angeles
     21   Business Journal article attributes the following quote to Mr. DeGiorgio: “We want
     22   to keep that and be able to offer a better free version than you would pay for on
     23   other sites.” CREXi denies that CoStar is using the quote set forth in Paragraph
     24   106 in context or that the implication is the one that CoStar intends to draw from it.
     25   CREXi denies any remaining allegations of Paragraph 106.
     26             107. Paragraph 107 sets forth a conclusion of law to which no response is
     27   required. To the extent a response is required, CREXi admits that CREXi Pro is a
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      1   paid subscription service offered by CREXi. CREXi denies any remaining
      2   allegations of Paragraph 107.
      3             108. Paragraph 108 sets forth a conclusion of law to which no response is
      4   required. To the extent a response is required, CREXi admits that a range of
      5   features and capabilities attract users to its website. CREXi further admits that Mr.
      6   Randel is employed at CREXi as the Chief Strategy Officer, and that a Realtors
      7   Property Resource blog post titled “How to Get More Eyes on Your Listings With
      8   Eli Randel” attributes the following quote to Mr. Randel: “Tip number three, I’m
      9   going to jump to right now, is images matter. I learned this while at CBRE. Really
     10   good property photos, virtual tours, drone videos, all of those help further engage
     11   buyers to your property.” CREXi denies that CoStar is using the quote set forth in
     12   Paragraph 108 in context or that the implication is the one that CoStar intends to
     13   draw from it. CREXi denies any remaining allegations of Paragraph 108. CREXi
     14   denies any remaining allegations of Paragraph 108.
     15             109. CREXi lacks sufficient information to admit or deny the allegations
     16   related to CoStar and unidentified third-party brokers and industry participants, and,
     17   on that basis, denies them. Paragraph 109 sets forth a conclusion of law to which
     18   no response is required. To the extent a response is required, CREXi admits that it
     19   provides its subscribers with access to “comps.” CREXi denies any remaining
     20   allegations of Paragraph 109.
     21             110. CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar, and, on that basis, denies them. Paragraph 110 sets forth a
     23   conclusion of law to which no response is required. To the extent a response is
     24   required, CREXi admits that it operates an auction platform. CREXi denies any
     25   remaining allegations of Paragraph 110.
     26             111. CREXi lacks sufficient information to admit or deny the allegations
     27   related to CoStar, and, on that basis, denies them. Paragraph 111 sets forth a
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      1   conclusion of law to which no response is required. To the extent a response is
      2   required, CREXi denies any remaining allegations of Paragraph 111.
      3             112. CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar and third-party CoStar customers, and, on that basis, denies them.
      5   Paragraph 112 sets forth a conclusion of law to which no response is required. To
      6   the extent a response is required, CREXi admits that Mr. Hamlin was previously
      7   employed at CREXi, and Mr. Padfield is presently employed at CREXi. CREXi
      8   further admits that Mr. Hamlin and Mr. Padfield, without CREXi’s authorization,
      9   accessed CoStar using log-in credentials they received prior to joining CREXi.
     10   CREXi denies any remaining allegations of Paragraph 112.
     11             113. CREXi lacks sufficient information to admit or deny the allegations
     12   related to CoStar and third-party CoStar clients, and, on that basis, denies them.
     13   CREXi admits that Mr. Hamlin was previously employed at CREXi, and that prior
     14   to CREXi, he had worked for Colliers. CREXi further admits that Mr. Hamlin,
     15   without CREXi’s authorization, accessed CoStar using log-in credentials he
     16   obtained prior to joining CREXi. CREXi denies any remaining allegations of
     17   Paragraph 113.
     18             114. CREXi lacks sufficient information to admit or deny the allegations
     19   related to CoStar, and, on that basis, denies them. Paragraph 114 sets forth a
     20   conclusion of law to which no response is required. To the extent a response is
     21   required, CREXi admits that Mr. Hamlin was previously employed at CREXi, and
     22   that prior to CREXi, he had worked for Colliers. CREXi further admits that Mr.
     23   Hamlin, without CREXi’s authorization, accessed CoStar using log-in credentials
     24   he obtained prior to joining CREXi. CREXi lacks sufficient information to admit
     25   or deny the remaining allegations of Paragraph 114, and, on that basis, denies them.
     26             115. CREXi lacks sufficient information to admit or deny the allegations of
     27   Paragraph 115, and, on that basis, denies them.
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      1             116. CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar, and, on that basis, denies them. Paragraph 116 sets forth a
      3   conclusion of law to which no response is required. To the extent a response is
      4   required, CREXi admits that Mr. Padfield is presently employed at CREXi, and that
      5   he previously worked as a real estate agent. CREXi further admits that Mr.
      6   Padfield, without CREXi’s authorization, accessed CoStar using log-in credentials
      7   he had purchased prior to joining CREXi. CREXi denies any remaining allegations
      8   of Paragraph 116.
      9             117. CREXi lacks sufficient information to admit or deny the allegations
     10   related to CoStar, including those in the second sentence of Paragraph 117, and, on
     11   that basis, denies them. Paragraph 117 sets forth a conclusion of law to which no
     12   response is required. To the extent a response is required, CREXi admits that Mr.
     13   Hamlin was previously employed at CREXi, and that Mr. Cohen is presently
     14   employed at CREXi. As to the first sentence of Paragraph 117, CREXi admits that
     15   Mr. Hamlin, without CREXi’s authorization, accessed CoStar using log-in
     16   credentials he obtained prior to joining CREXi, but CREXi lacks sufficient
     17   information to admit or deny the remaining allegations of that sentence, and on that
     18   basis, denies them. CREXi lacks sufficient information to admit or deny the
     19   allegations included in the third sentence of Paragraph 117, and, on that basis,
     20   denies them. CREXi denies any remaining allegations of Paragraph 117.
     21             118. CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar, and, on that basis, denies them. To the extent Paragraph 118
     23   refers to a document, no response is required as the document speaks for itself.
     24   Paragraph 118 sets forth a conclusion of law to which no response is required. To
     25   the extent a response is required, CREXi admits that Mr. Hamlin was previously
     26   employed at CREXi, and that Mr. Padfield is presently employed at CREXi.
     27   CREXi denies any remaining allegations of Paragraph 118.
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      1             119. CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar, and, on that basis, denies them. To the extent Paragraph 119
      3   refers to a document, no response is required as the document speaks for itself.
      4   Paragraph 119 sets forth a conclusion of law to which no response is required. To
      5   the extent a response is required, CREXi admits that Mr. Hamlin was previously
      6   employed at CREXi, and that Mr. Padfield is presently employed at CREXi.
      7   CREXi denies any remaining allegations of Paragraph 119.
      8             120. CREXi lacks sufficient information to admit or deny the allegations
      9   related to CoStar, and, on that basis, denies them. To the extent Paragraph 120
     10   refers to a document, no response is required as the document speaks for itself.
     11   Paragraph 120 sets forth a conclusion of law to which no response is required. To
     12   the extent a response is required, CREXi admits that Mr. Hamlin was previously
     13   employed at CREXi, and that Mr. Padfield is presently employed at CREXi.
     14   CREXi denies any remaining allegations of Paragraph 120.
     15             121. CREXi lacks sufficient information to admit or deny the allegations
     16   related to CoStar, and, on that basis, denies them. Paragraph 121 sets forth a
     17   conclusion of law to which no response is required. To the extent a response is
     18   required, CREXi admits that Mr. Hamlin and Mr. Zlotnick were previously
     19   employed at CREXi. CREXi further admits that, without CREXi’s authorization,
     20   Mr. Hamlin provided Mr. Zlotnick with access to a CoStar account. CREXi denies
     21   any remaining allegations of Paragraph 121.
     22             122. CREXi lacks sufficient information to admit or deny the allegations
     23   related to CoStar, and, on that basis, denies them. Paragraph 122 sets forth a
     24   conclusion of law to which no response is required. To the extent a response is
     25   required, CREXi denies any remaining allegations of Paragraph 122.
     26             123. Paragraph 123 sets forth a conclusion of law to which no response is
     27   required. CREXi admits that Mr. Cohen is presently employed at CREXi. CREXi
     28   further admits that Mr. Cohen has, at times, visited LoopNet, a publicly available
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      1   website, just as CoStar did in the past before it acquired LoopNet and just as CoStar
      2   employees have visited CREXi more recently. CREXi lacks sufficient information
      3   to admit or deny the allegations in the seventh sentence of Paragraph 123, and, on
      4   that basis, denies them. CREXi denies any remaining allegations of Paragraph 123.
      5             124. CREXi lacks sufficient information to admit or deny the allegations
      6   related to CoStar, and, on that basis, denies them. Paragraph 124 sets forth a
      7   conclusion of law to which no response is required. To the extent a response is
      8   required, CREXi admits that 76.81.37.146 is an IP address that was associated with
      9   CREXi. CREXi further admits that its employees, at times, accessed LoopNet, a
     10   publicly available website (just as CoStar did in the past before it acquired
     11   LoopNet, and just as CoStar employees have visited CREXi more recently), and
     12   that they may have done so using IP addresses registered to CREXi. CREXi denies
     13   any remaining allegations of Paragraph 124.
     14             125. CREXi lacks sufficient information to admit or deny the allegations of
     15   Paragraph 125, and, on that basis, denies them.
     16             126. CREXi lacks sufficient information to admit or deny the allegations
     17   related to CoStar and third party Xceligent, and, on that basis, denies them.
     18   Paragraph 126 sets forth a conclusion of law to which no response is required. To
     19   the extent a response is required, CREXi denies any remaining allegations of
     20   Paragraph 126.
     21             127. CREXi lacks sufficient information to admit or deny the allegations of
     22   Paragraph 127, and, on that basis, denies them.
     23             128. CREXi lacks sufficient information to admit or deny the allegations
     24   related to CoStar, and, on that basis, denies them. Paragraph 128 sets forth a
     25   conclusion of law to which no response is required. To the extent a response is
     26   required, CREXi admits that 45.59.255.42 is an IP address that was associated with
     27   CREXi. CREXi further admits that its headquarters are located at 4086 Del Rey
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      1   Avenue, Marina Del Rey, California. CREXi denies any remaining allegations of
      2   Paragraph 128.
      3             129. CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar, and, on that basis, denies them. Paragraph 129 sets forth a
      5   conclusion of law to which no response is required. To the extent a response is
      6   required, CREXi admits that certain of its employees have signed up for LoopNet
      7   accounts associated with non-CREXi email addresses. CREXi further admits that
      8   certain of its employees have, at times, visited LoopNet, a publicly available
      9   website, just as CoStar did in the past before it acquired LoopNet and just as CoStar
     10   employees have visited CREXi more recently. CREXi denies any remaining
     11   allegations of Paragraph 129.
     12             130. Paragraph 130 sets forth a conclusion of law to which no response is
     13   required. To the extent a response is required, CREXi admits that Mr. Rosenfeld is
     14   presently employed at CREXi. As to the allegations in the first sentence of
     15   Paragraph 130, CREXi admits that Mr. Rosenfeld has visited LoopNet using his
     16   Google account. That Google account was associated with Mr. Rosenfeld’s non-
     17   CREXi email account. CREXi lacks sufficient information to admit or deny the
     18   remaining allegations of the first sentence of Paragraph 130, and on that basis,
     19   denies them. CREXi further admits that Mr. Rosenfeld, at times, visited LoopNet,
     20   a publicly available website, to identify real estate listings. CREXi denies the
     21   remaining allegations of Paragraph 130.
     22             131. CREXi lacks sufficient information to admit or deny the allegations
     23   related to CoStar and third parties Xceligent, Cohen Financial, and Brent Hansen
     24   and, on that basis, denies them. Paragraph 131 sets forth a conclusion of law to
     25   which no response is required. To the extent a response is required, CREXi admits
     26   that Mr. Cohen has visited LoopNet, a publicly available website, using an account
     27   associated with a non-CREXi email address. CREXi denies any remaining
     28   allegations of Paragraph 131.
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      1             132. CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and third party Cohen Financial, and, on that basis, denies them.
      3   Paragraph 132 sets forth a conclusion of law to which no response is required. To
      4   the extent a response is required, CREXi admits that Mr. Cohen has visited
      5   LoopNet, a publicly available website, using an account associated with a non-
      6   CREXi email address. CREXi lacks sufficient information to admit or deny the
      7   second and third sentences of Paragraph 132, including because those allegations
      8   are vague and ambiguous, and on that basis, denies them. CREXi denies any
      9   remaining allegations of Paragraph 132.
     10             133. Paragraph 133 sets forth a conclusion of law to which no response is
     11   required. To the extent a response is required, CREXi admits that Mr. Hamlin was
     12   previously employed at CREXi, and that Mr. Rosenfeld and Mr. Cohen are
     13   presently employed at CREXi. CREXi lacks information sufficient to admit or
     14   deny the allegations included in the first two sentences of Paragraph 133, and on
     15   that basis, denies them. CREXi admits that Mr. Hamlin, at times, visited LoopNet,
     16   a publicly available website (just as CoStar did in the past before it acquired
     17   LoopNet, and just as CoStar employees have visited CREXi more recently), to
     18   identify real estate listings. CREXi denies the remaining allegations of Paragraph
     19   133.
     20             134. Paragraph 134 sets forth a conclusion of law to which no response is
     21   required. To the extent a response is required, CREXi admits that Mr. Hanna is
     22   presently employed at CREXi, and that Mr. Zlotnick was previously employed at
     23   CREXi. CREXi denies that Mr. Hanna signed up for LoopNet accounts under false
     24   names in order to mask his identity. CREXi admits Mr. Hanna visited LoopNet, a
     25   publicly available website, using an account associated with a non-CREXi email
     26   address. CREXi denies any remaining allegations of Paragraph 134.
     27             135. CREXi lacks sufficient information to admit or deny the allegations
     28   related to CoStar and, on that basis, denies them. CREXi admits that certain of its
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      1   employees have signed up to receive property alerts from LoopNet. CREXi denies
      2   any remaining allegations of Paragraph 135.
      3             136. CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar and, on that basis, denies them. CREXi admits that Mr. Rosenfeld
      5   is employed at CREXi. CREXi further admits that Mr. Rosenfeld signed up to
      6   receive LoopNet property alerts. CREXi lacks sufficient information to admit or
      7   deny the remaining allegations of Paragraph 136, and, on that basis, denies them.
      8             137. CREXi lacks sufficient information to admit or deny the allegations
      9   related to CoStar and, on that basis, denies them. CREXi admits that Mr. Cohen is
     10   presently employed at CREXi. CREXi further admits that Mr. Cohen signed up to
     11   receive LoopNet property alerts. CREXi lacks sufficient information to admit or
     12   deny the remaining allegations of Paragraph 137, and on that basis, denies them.
     13             138. CREXi lacks sufficient information to admit or deny the allegations
     14   related to CoStar and, on that basis, denies them. CREXi admits that Mr. Hamlin
     15   was previously employed at CREXi. CREXi further admits that Mr. Hamlin signed
     16   up to receive LoopNet alerts. CREXi lacks sufficient information to admit or deny
     17   the remaining allegations of Paragraph 138, and on that basis, denies them.
     18             139. CREXi lacks sufficient information to admit or deny the allegations
     19   relating to third-party Arcgate, and on that basis, denies them. CREXi denies the
     20   remaining allegations of Paragraph 139, including because they are vague and
     21   ambiguous.
     22             140. CREXi lacks sufficient information to admit or deny the allegations
     23   related to CoStar and third party Xceligent and, on that basis, denies them. CREXi
     24   denies the remaining allegations of Paragraph 140, including because they are
     25   vague and ambiguous.
     26             141. CREXi lacks sufficient information to admit or deny the allegations
     27   related to CoStar and, on that basis, denies them. CREXi denies the remaining
     28   allegations of Paragraph 141.
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      1             142. CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and third parties Xceligent and RE Back Office, on that basis,
      3   denies them. To the extent Paragraph 142 refers to a document, no response is
      4   required as the document speaks for itself. Paragraph 142 sets forth a conclusion of
      5   law to which no response is required. To the extent a response is required, CREXi
      6   denies the remaining allegations of Paragraph 142.
      7             143. Paragraph 143 sets forth a conclusion of law to which no response is
      8   required. To the extent a response is required, CREXi denies the remaining
      9   allegations of Paragraph 143.
     10             144. CREXi lacks sufficient information to admit or deny the allegations
     11   related to CoStar and, on that basis, denies them. Paragraph 144 sets forth a
     12   conclusion of law to which no response is required. To the extent a response is
     13   required, CREXi denies any remaining allegations of Paragraph 144.
     14             145. Paragraph 145 sets forth a conclusion of law to which no response is
     15   required. To the extent a response is required, CREXi denies any remaining
     16   allegations of Paragraph 145.
     17             146. CREXi lacks sufficient information to admit or deny the allegations
     18   related to CoStar and, on that basis, denies them. To the extent Paragraph 146
     19   refers to a document, no response is required as the document speaks for itself.
     20   Paragraph 146 sets forth a conclusion of law to which no response is required. To
     21   the extent a response is required, CREXi denies any remaining allegations of
     22   Paragraph 146.
     23             147. Paragraph 147 sets forth a conclusion of law to which no response is
     24   required. To the extent a response is required, CREXi denies any remaining
     25   allegations of Paragraph 147.
     26             148. CREXi lacks sufficient information to admit or deny the allegations
     27   related to CoStar and unidentified past lawsuits and, on that basis, denies them.
     28   Paragraph 148 sets forth a conclusion of law to which no response is required. To
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      1   the extent a response is required, CREXi denies any remaining allegations of
      2   Paragraph 148.
      3             149. CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar and, on that basis, denies them. Paragraph 149 sets forth a
      5   conclusion of law to which no response is required. To the extent a response is
      6   required, CREXi denies any remaining allegations of Paragraph 149, including
      7   because Paragraph 149 does not identify the addresses of the properties depicted in
      8   Paragraph 149.
      9             150. Paragraph 150 sets forth a conclusion of law to which no response is
     10   required. To the extent a response is required, CREXi notes that, pursuant to the
     11   Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not,
     12   as a matter of law, constitute copyright management information. CREXi denies
     13   any remaining allegations of Paragraph 150.
     14             151. Paragraph 151 sets forth a conclusion of law to which no response is
     15   required. To the extent a response is required, CREXi notes that, pursuant to the
     16   Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not,
     17   as a matter of law, constitute copyright management information. CREXi denies
     18   any remaining allegations of Paragraph 151.
     19             152. CREXi lacks sufficient information to admit or deny the allegations
     20   related to CoStar and third party Xceligent and, on that basis, denies them.
     21   Paragraph 152 sets forth a conclusion of law to which no response is required. To
     22   the extent a response is required, CREXi notes that, pursuant to the Court’s
     23   June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not, as a
     24   matter of law, constitute copyright management information. CREXi denies any
     25   remaining allegations of Paragraph 152.
     26             153. Paragraph 153 sets forth a conclusion of law to which no response is
     27   required. To the extent a response is required, CREXi notes that, pursuant to the
     28   Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not,
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      1   as a matter of law, constitute copyright management information. CREXi denies
      2   any remaining allegations of Paragraph 153.
      3             154. Paragraph 154 sets forth a conclusion of law to which no response is
      4   required. To the extent a response is required, CREXi denies any remaining
      5   allegations of Paragraph 154.
      6             155. CREXi lacks sufficient information to admit or deny the allegations
      7   related to CoStar and, on that basis, denies them. Paragraph 155 sets forth a
      8   conclusion of law to which no response is required. To the extent a response is
      9   required, CREXi denies any remaining allegations of Paragraph 155.
     10             156. CREXi lacks sufficient information to admit or deny the allegations
     11   related to CoStar and an unidentified third party brokerage and, on that basis, denies
     12   the allegations of Paragraph 156.
     13             157. Paragraph 157 sets forth a conclusion of law to which no response is
     14   required. To the extent a response is required, CREXi notes that, pursuant to the
     15   Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not,
     16   as a matter of law, constitute copyright management information. CREXi denies
     17   any remaining allegations of Paragraph 157, including because Paragraph 157 does
     18   not identify the address of the property depicted in Paragraph 157.
     19             158. CREXi lacks sufficient information to admit or deny the allegations
     20   related to CoStar and unidentified third-party brokers and, on that basis, denies the
     21   allegations of Paragraph 158.
     22             159. CREXi lacks sufficient information to admit or deny the allegations
     23   related to CoStar and an unidentified third-party broker and, on that basis, denies
     24   them. Paragraph 159 sets forth a conclusion of law to which no response is
     25   required. To the extent a response is required, CREXi denies any remaining
     26   allegations of Paragraph 159, including because Paragraph 159 does not identify the
     27   address of the property depicted in Paragraph 159.
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      1             160. CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and an unidentified third-party broker, on that basis, denies them.
      3   Paragraph 160 sets forth a conclusion of law to which no response is required. To
      4   the extent a response is required, CREXi denies any remaining allegations of
      5   Paragraph 160, including because Paragraph 160 does not identify the address of
      6   the property depicted in Paragraph 159.
      7             161. CREXi lacks sufficient information to admit or deny the allegations
      8   related to an unidentified third-party property owner and broker and, on that basis,
      9   denies them. CREXi denies any remaining allegations of Paragraph 161.
     10             162. CREXi lacks sufficient information to admit or deny the allegations
     11   related an unidentified third-party brokerage and, on that basis, denies them.
     12   CREXi denies any remaining allegations of Paragraph 162.
     13             163. CREXi lacks sufficient information to admit or deny the allegations
     14   related to unidentified third-party listing brokers and brokerages and, on that basis,
     15   denies them. CREXi admits that Nick DeGiorgio is presently employed at CREXi,
     16   and that he is Michael DeGiorgio’s cousin. CREXi lacks information sufficient to
     17   admit or deny the remaining allegations of Paragraph 163, and on that basis, denies
     18   them.
     19             164. CREXi lacks sufficient information to admit or deny the allegations
     20   related to an unidentified third-party marketing manager and, on that basis, denies
     21   them. CREXi admits that Mr. Rosenfeld is presently employed at CREXi. CREXi
     22   lacks information sufficient to admit or deny the remaining allegations of Paragraph
     23   164, and on that basis, denies them.
     24             165. CREXi lacks sufficient information to admit or deny the allegations
     25   related to an unidentified third-party marketing manager and, on that basis, denies
     26   them. CREXi admits that Mr. Rosenfeld is presently employed at CREXi. CREXi
     27   lacks information sufficient to admit or deny the remaining allegations of Paragraph
     28   165, and on that basis, denies them.
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      1             166. CREXi lacks sufficient information to admit or deny the allegations
      2   related to CoStar and an unidentified third-party manager, on that basis, denies
      3   them. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on CREXi’s
      4   motion to dismiss, CoStar’s logo does not, as a matter of law, constitute copyright
      5   management information. CREXi admits that Mr. Rosenfeld is presently employed
      6   at CREXi. CREXi lacks information sufficient to admit or deny the remaining
      7   allegations of Paragraph 166, and on that basis, denies them.
      8             167. CREXi lacks sufficient information to admit or deny the allegations
      9   related to an unidentified third-party manager and brokerage and, on that basis,
     10   denies them. Paragraph 167 sets forth a conclusion of law to which no response is
     11   required. To the extent a response is required, CREXi admits that Mr. Rosenfeld is
     12   presently employed at CREXi. CREXi denies any remaining allegations of
     13   Paragraph 167.
     14             168. CREXi lacks sufficient information to admit or deny the allegations
     15   related to an unidentified third-party broker and, on that basis, denies them.
     16   Paragraph 168 sets forth a conclusion of law to which no response is required. To
     17   the extent a response is required, CREXi admits that Mr. Rosenfeld is presently
     18   employed at CREXi. CREXi lacks information sufficient to admit or deny the
     19   remaining allegations of Paragraph 168, and on that basis, denies them.
     20             169. CREXi admits that Mr. Rosenfeld is presently employed at CREXi.
     21   CREXi lacks sufficient information to admit or deny the remaining allegations of
     22   Paragraph 169, and on that basis, denies them.
     23             170. Paragraph 170 sets forth a conclusion of law to which no response is
     24   required. To the extent a response is required, CREXi admits that Mr. Rosenfeld is
     25   presently employed at CREXi. CREXi further admits that, pursuant to the Court’s
     26   June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not, as a
     27   matter of law, constitute copyright management information. CREXi lacks
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      1   sufficient information to admit or deny the remaining allegations of Paragraph 170,
      2   and on that basis, denies them.
      3             171. CREXi lacks sufficient information to admit or deny the allegations
      4   related to CoStar and unidentified third-party brokers and brokerages and, on that
      5   basis, denies them. Paragraph 171 sets forth a conclusion of law to which no
      6   response is required. To the extent a response is required, CREXi notes that,
      7   pursuant to the Court’s June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s
      8   logo does not, as a matter of law, constitute copyright management information.
      9   CREXi admits that brokers can list their properties anywhere. CREXi denies any
     10   remaining allegations of Paragraph 171.
     11             172.   Paragraph 172 sets forth a conclusion of law to which no response is
     12   required. To the extent a response is required, CREXi lacks sufficient information
     13   to admit or deny the remaining allegations of Paragraph 172, and on that basis,
     14   denies them.
     15             173. CREXi denies the first and second sentences of Paragraph 173,
     16   including because CREXi is an online service provider under the Digital
     17   Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512. CREXi admits that Mr.
     18   Randal currently serves as its Chief Strategy Officer, and that Mr. Cohen is
     19   employed at CREXi. CREXi lacks sufficient information to admit or deny the
     20   remaining allegations of Paragraph 173, and on that basis, denies them.
     21             174. CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar and, on that basis, denies them. Paragraph 174 sets forth a
     23   conclusion of law to which no response is required. To the extent a response is
     24   required, CREXi denies any remaining allegations of Paragraph 174.
     25             175. CREXi lacks sufficient information to admit or deny the allegations
     26   related to CoStar and an unidentified third party broker, and, on that basis, denies
     27   them. Paragraph 175 sets forth a conclusion of law to which no response is
     28   required. To the extent a response is required, CREXi lacks sufficient information
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      1   to admit or deny the remaining allegations of Paragraph 175, including because
      2   Paragraph 175 does not identify the address of the property depicted in Paragraph
      3   175, and, on that basis, denies them.
      4             176. CREXi lacks sufficient information to admit or deny the allegations
      5   related to CoStar and an unidentified third-party broker and, on that basis, denies
      6   them. Paragraph 176 sets forth a conclusion of law to which no response is
      7   required. To the extent a response is required, CREXi admits that the following is
      8   an excerpt from a February 12, 2019 YouTube video titled, “Add Listings,
      9   Dispositions, View Leads on CREXi”: “Sending your properties in is as easy as
     10   connecting with myself or somebody on my team. You can send your property
     11   fliers to us directly, whether that’s a Dropbox file, a link to your website, as long as
     12   they’re readily available, and as long as they are not CoStar or LoopNet branded,
     13   we can handle the entire uploading and onboarding process as we do.” CREXi
     14   denies that CoStar is using the quote set forth in Paragraph 176 in context or that
     15   the implication is the one that CoStar intends to draw from it. CREXi lacks
     16   sufficient information to admit or deny the remaining allegations of Paragraph 176,
     17   including because they are vague and ambiguous, and, on that basis, denies them.
     18             177. Paragraph 177 sets forth a conclusion of law to which no response is
     19   required. To the extent a response is required, CREXi denies any remaining
     20   allegations of Paragraph 177.
     21             178. CREXi lacks sufficient information to admit or deny the allegations
     22   related to CoStar and, on that basis, denies them. Paragraph 178 sets forth a
     23   conclusion of law to which no response is required. To the extent a response is
     24   required, CREXi denies any remaining allegations of Paragraph 178.
     25             179. CREXi admits that the press has covered CoStar’s prior lawsuits
     26   against its competitors, and that CoStar has filed litigation across the country.
     27   CREXi denies the remaining allegations of Paragraph 179.
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      1             180. CREXi admits that CoStar has filed litigation across the country
      2   against its competitors, including Xceligent. CREXi further admits that CoStar’s
      3   litigation against Xceligent forced Xceligent to file for bankruptcy. CREXi denies
      4   the remaining allegations of Paragraph 180.
      5             181. CREXi lacks sufficient information to admit or deny the allegations
      6   related to CoStar and third party Xceligent and, on that basis, denies the allegations
      7   of Paragraph 181.
      8             182. CREXi lacks sufficient information to admit or deny the allegations
      9   related to CoStar and third party Xceligent and, on that basis, denies them.
     10   Paragraph 182 sets forth a conclusion of law to which no response is required. To
     11   the extent a response is required, CREXi denies the remaining allegations of
     12   Paragraph 182.
     13             183. CREXi lacks sufficient information to admit or deny the allegations
     14   related to CoStar and third party Xceligent and, on that basis, denies them. To the
     15   extent Paragraph 183 refers to a document, no response is required as the document
     16   speaks for itself. Paragraph 183 sets forth a conclusion of law to which no response
     17   is required. To the extent a response is required, CREXi denies any remaining
     18   allegations of Paragraph 183.
     19             184. CREXi lacks sufficient information to admit or deny the allegations
     20   related to CoStar and third party Apartment Hunters and, on that basis, denies them.
     21   To the extent Paragraph 184 refers to a document, no response is required as the
     22   document speaks for itself. Paragraph 184 sets forth a conclusion of law to which
     23   no response is required. To the extent a response is required, CREXi denies any
     24   remaining allegations of Paragraph 184.
     25             185. CREXi lacks sufficient information to admit or deny the allegations
     26   related to CoStar and third party SandBox Real Estate and Development LLC and,
     27   on that basis, denies them. To the extent Paragraph 185 refers to a document, no
     28   response is required as the document speaks for itself. Paragraph 185 sets forth a
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      1   conclusion of law to which no response is required. To the extent a response is
      2   required, CREXi denies any remaining allegations of Paragraph 185.
      3             186. Paragraph 186 sets forth a conclusion of law to which no response is
      4   required. To the extent a response is required, CREXi denies the allegations of
      5   Paragraph 186.
      6             187. CREXi admits that Michael DeGiorgio is the CEO of CREXi and that
      7   Mr. DeGiorgio and Luke Morris are Co-Founders of CREXi. CREXi further
      8   admits that Ten-X filed suit against Mr. DeGiorgio and CREXi in 2016, and
      9   secured a preliminary injunction; the parties eventually resolved that dispute.
     10   CREXi denies the remaining allegations of Paragraph 187.
     11             188. To the extent Paragraph 188 refers to a document, no response is
     12   required as the document speaks for itself. CREXi denies any remaining
     13   allegations of Paragraph 188.
     14             189. CREXi admits that a Ten-X press release attributed the following
     15   quote to Mr. DeGiorgio: “We apologize to Ten-X for the actions which led to this
     16   lawsuit. I regret my conduct at the time I departed Ten-X and believe that the
     17   settlement is a fair resolution.” CREXi denies that CoStar is using the quote set
     18   forth in Paragraph 189 in context or that the implication is the one that CoStar
     19   intends to draw from it. CREXi also admits that Mr. DeGiorgio and CREXi
     20   resolved the dispute with Ten-X, including through payment of $1.6 million.
     21   CREXi denies any remaining allegations of Paragraph 189.
     22             190. Paragraph 190 sets forth a conclusion of law to which no response is
     23   required. To the extent a response is required, CREXi admits that a July 20, 2020
     24   Los Angeles Business Journal article attributes the following quote to Mike
     25   DeGiorgio: “We want to offer a better product, more accurate data, more usable
     26   data ... and be able to charge a lot less for it.” CREXi denies that CoStar is using
     27   the quote set forth in Paragraph 190 in context or that the implication is the one that
     28   CoStar intends to draw from it. CREXi denies that the article quotes Mr.
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      1   DeGiorgio as saying that CREXi could “overtake” CoStar as the “go-to” source for
      2   information. CREXi denies the remaining allegations of Paragraph 190.
      3             191. CREXi admits that CoStar acquired Ten-X. CREXi denies the
      4   remaining allegations of Paragraph 191.
      5                               FIRST CLAIM FOR RELIEF
      6                                   Copyright Infringement
      7             192. CREXi repeats and incorporates by reference herein its response to
      8   each and every allegation set forth above.
      9             193. CREXi denies the allegations of Paragraph 193.
     10             194. CREXi denies the allegations of Paragraph 194.
     11             195. CREXi denies the allegations of Paragraph 195.
     12             196. CREXi denies the allegations of Paragraph 196.
     13             197. CREXi denies the allegations of Paragraph 197.
     14             198. CREXi denies the allegations of Paragraph 198.
     15             199. CREXi denies the allegations of Paragraph 199.
     16             200. CREXi denies the allegations of Paragraph 200.
     17             201. CREXi denies the allegations of Paragraph 201.
     18             202. CREXi denies the allegations of Paragraph 202.
     19             203. CREXi denies the allegations of Paragraph 203.
     20             204. CREXi denies the allegations of Paragraph 204.
     21             205. CREXi denies the allegations of Paragraph 205.
     22             206. CREXi denies the allegations of Paragraph 206.
     23             207. CREXi denies the allegations of Paragraph 207.
     24                              SECOND CLAIM FOR RELIEF
     25               Violation of the Digital Millennium Copyright Act (“DMCA”)
     26      Removal of Copyright Management Information, 17 U.S.C. §§ 1202(b)(1)
     27             208. CREXi repeats and incorporates by reference herein its response to
     28   each and every allegation set forth above.
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      1             209. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
      2   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
      3   copyright management information. CREXi denies any remaining allegations of
      4   Paragraph 209.
      5             210. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
      6   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
      7   copyright management information. CREXi denies any remaining allegations of
      8   Paragraph 210.
      9             211. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
     10   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
     11   copyright management information. CREXi denies any remaining allegations of
     12   Paragraph 211.
     13             212. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
     14   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
     15   copyright management information. CREXi denies any remaining allegations of
     16   Paragraph 212.
     17             213. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
     18   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
     19   copyright management information. CREXi denies any remaining allegations of
     20   Paragraph 213.
     21                               THIRD CLAIM FOR RELIEF
     22               Violation of the Digital Millennium Copyright Act (“DMCA”)
     23       Distribution of Works with Removed or Altered Copyright Management
     24                            Information, 17 U.S.C. §§ 1202(b)(3)
     25             214. CREXi repeats and incorporates by reference herein its response to
     26   each and every allegation set forth above.
     27             215. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
     28   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
                                                     39
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      1   copyright management information. CREXi denies any remaining allegations of
      2   Paragraph 215.
      3             216. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
      4   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
      5   copyright management information. CREXi denies any remaining allegations of
      6   Paragraph 216.
      7             217. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
      8   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
      9   copyright management information. CREXi denies any remaining allegations of
     10   Paragraph 217.
     11             218. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
     12   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
     13   copyright management information. CREXi denies any remaining allegations of
     14   Paragraph 218.
     15             219. CREXi notes that, pursuant to the Court’s June 9, 2021 Order on
     16   CREXi’s motion to dismiss, CoStar’s logo does not, as a matter of law, constitute
     17   copyright management information. CREXi denies any remaining allegations of
     18   Paragraph 219.
     19                              FOURTH CLAIM FOR RELIEF
     20                              Common Law Misappropriation
     21             220. CREXi repeats and incorporates by reference herein its response to
     22   each and every allegation set forth above.
     23             221. CREXi denies the allegations of Paragraph 221.
     24             222. CREXi denies the allegations of Paragraph 222.
     25             223. CREXi denies the allegations of Paragraph 223.
     26             224. CREXi denies the allegations of Paragraph 224.
     27             225. CREXi denies the allegations of Paragraph 225.
     28             226. CREXi denies the allegations of Paragraph 226.
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      1             227. CREXi denies the allegations of Paragraph 227.
      2                               FIFTH CLAIM FOR RELIEF
      3                               California Unfair Competition
      4             228. CREXi repeats and incorporates by reference herein its response to
      5   each and every allegation set forth above.
      6             229. CREXi denies the allegations of Paragraph 229.
      7             230. CREXi denies the allegations of Paragraph 230.
      8             231. CREXi denies the allegations of Paragraph 231.
      9             232. CREXi denies the allegations of Paragraph 232.
     10             233. CREXi denies the allegations of Paragraph 233.
     11             234. CREXi denies the allegations of Paragraph 234.
     12                               SIXTH CLAIM FOR RELIEF
     13                              California False Advertising Law
     14             235. CREXi repeats and incorporates by reference herein its response to
     15   each and every allegation set forth above.
     16             236. CREXi denies the allegations of Paragraph 236.
     17             237. CREXi denies the allegations of Paragraph 237.
     18             238. CREXi denies the allegations of Paragraph 238.
     19             239. CREXi denies the allegations of Paragraph 239.
     20             240. CREXi denies the allegations of Paragraph 240.
     21                             SEVENTH CLAIM FOR RELIEF
     22                                     Breach of Contract
     23             241. CREXi repeats and incorporates by reference herein its response to
     24   each and every allegation set forth above.
     25             242. CREXi denies the allegations of Paragraph 242.
     26             243. CREXi denies the allegations of Paragraph 243.
     27

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      1             244. To the extent Paragraph 244 refers to a document, no response is
      2   required as the document speaks for itself. CREXi denies any remaining
      3   allegations of Paragraph 244.
      4             245. To the extent Paragraph 245 refers to a document, no response is
      5   required as the document speaks for itself. CREXi denies any remaining
      6   allegations of Paragraph 245.
      7             246. To the extent Paragraph 246 refers to a document, no response is
      8   required as the document speaks for itself. CREXi denies any remaining
      9   allegations of Paragraph 246.
     10             247. CREXi denies the allegations of Paragraph 247.
     11             248. CREXi admits that, without CREXi’s authorization, Mr. Hamlin, a
     12   former CREXi employee, provided Mr. Zlotnick, another former CREXi employee,
     13   with access to a CoStar account. CREXi denies the remaining allegations of
     14   Paragraph 248.
     15             249. CREXi denies the allegations of Paragraph 249.
     16             250. To the extent Paragraph 250 refers to a document, no response is
     17   required as the document speaks for itself. CREXi denies any remaining
     18   allegations of Paragraph 250.
     19             251. To the extent Paragraph 251 refers to a document, no response is
     20   required as the document speaks for itself. CREXi denies any remaining
     21   allegations of Paragraph 251.
     22             252. CREXi denies the allegations of Paragraph 252.
     23             253. CREXi denies the allegations of Paragraph 253.
     24             254. CREXi denies the allegations of Paragraph 254.
     25             255. CREXi denies the allegations of Paragraph 255.
     26                            ANSWER TO PRAYER FOR RELIEF
     27             These paragraphs set forth the statement of relief requested by Plaintiffs to
     28   which no response is required. To the extent a response is required, CREXi denies
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      1   that Plaintiffs are entitled to any of the requested relief and denies any allegations
      2   contained in the Prayer for Relief.
      3                               ANSWER TO JURY DEMAND
      4             This paragraph sets forth Plaintiffs’ Jury Demand to which no response is
      5   required. To the extent a response is required, CREXi denies any allegations
      6   contained in the Jury Demand.
      7                                AFFIRMATIVE DEFENSES
      8             CREXi further asserts the following separate and independent affirmative
      9   defenses pursuant to Federal Rule of Civil Procedure 8(c). CREXi pleads these
     10   affirmative defenses based on its current understanding of the allegations, claims,
     11   and legal theories in the First Amended Complaint. CREXi reserves all rights to
     12   amend and add to these defenses, and to assert additional counterclaims against
     13   Plaintiffs, in view of motion practice, discovery, or other developments. Without
     14   admitting any of the allegations in Plaintiffs’ First Amended Complaint and/or any
     15   other wrongful conduct, and without assuming any burden of proof not imposed by
     16   law, CREXi states as follows:
     17                             FIRST AFFIRMATIVE DEFENSE
     18                                   (Failure to State a Claim)
     19             The First Amended Complaint and each purported cause of action therein fail
     20   to state facts sufficient to constitute a cause of action against CREXi.
     21                            SECOND AFFIRMATIVE DEFENSE
     22                         (Failure to Plead Fraud with Particularity)
     23             Plaintiffs’ claim under California’s False Advertising Law, Cal. Bus. & Prof.
     24   Code § 17500 et seq., fails because the First Amended Complaint fails to plead
     25   fraud with particularity, as required by Federal Rules of Civil Procedure 8(a) and
     26   9(b).
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      1                             THIRD AFFIRMATIVE DEFENSE
      2                                     (DMCA Safe Harbor)
      3             Plaintiffs’ claim for copyright infringement is barred, in whole or in part,
      4   because CREXi is an online service provider entitled to safe harbor protection
      5   under the Digital Millennium Copyright Act of 1998 (“DMCA”), 17 U.S.C. § 512.
      6   CREXi is a “service provider” within the meaning of the statute, and stores certain
      7   photographs and data at the direction of third parties who use its websites and
      8   databases. CREXi has taken the precautionary measures that the Act requires, by
      9   adopting and reasonably implementing a policy designed to exclude users who
     10   repeatedly infringe, designating an agent to receive infringement notices, and
     11   accommodating standard technical measures that copyright owners use to detect
     12   infringement. CREXi also had no actual or apparent knowledge of the alleged
     13   infringing activity, and has never received a takedown notice from Plaintiffs.
     14   CREXi did not have the right or ability to control the alleged infringing activity,
     15   nor did it receive a financial benefit directly attributable to the alleged infringing
     16   activity.
     17                            FOURTH AFFIRMATIVE DEFENSE
     18                                        (Unclean Hands)
     19             The First Amended Complaint and each purported cause of action alleged
     20   therein are barred by reason of Plaintiffs’ own unclean hands in or about the matters
     21   complained of in the First Amended Complaint, including but not limited to the fact
     22   that Plaintiffs have selectively blocked CREXi and other competitors from viewing
     23   and accessing public data, while CoStar employees freely accessed information on
     24   CREXi’s website for competitive purposes; unilaterally altered information on
     25   brokers’ listings and placed its name or logo on brokers’ photographs, and then
     26   declared the information and photographs Plaintiffs’ property; and infringed the
     27

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      1   CREXI® mark in the header and text of its online advertisements.
      2                             FIFTH AFFIRMATIVE DEFENSE
      3                                      (Lack of Originality)
      4             Plaintiffs’ claim for copyright infringement fails because the allegedly
      5   infringing photographs do not possess even a minimal degree of creativity, and
      6   therefore lack the requisite originality to qualify for copyright protection.
      7                             SIXTH AFFIRMATIVE DEFENSE
      8                                      (Copyright Misuse)
      9             Plaintiffs’ claim for copyright infringement is barred by the doctrine of
     10   copyright misuse. Plaintiffs have attempted to improperly use their copyrights to
     11   control competition in areas beyond the scope of their copyrights. Plaintiffs have
     12   asserted copyright protections regarding photographs in an effort to prevent
     13   competitors from accessing or using information related to the subject matter of the
     14   photographs, including data regarding particular property listings that is not
     15   copyrighted and may not be copyrighted. Plaintiffs have also systematically
     16   applied their name and/or logo to images for which they neither own nor hold the
     17   copyright, in an intentional effort to sow confusion in the marketplace as to the
     18   origin, ownership and copyright of images on Plaintiffs’ websites. As such,
     19   Plaintiffs are exceeding the scope of any legitimate copyrights and undermining
     20   public policy by asserting them.
     21                           SEVENTH AFFIRMATIVE DEFENSE
     22                                  (Copyright Abandonment)
     23             Plaintiffs’ claim for copyright infringement is barred because Plaintiffs
     24   abandoned their alleged copyrights to the photographs at issue, including by
     25   intentionally permitting brokers and other third parties to use allegedly infringing
     26   photographs. By their intentional conduct, Plaintiffs abandoned any claim they
     27   may have had that any allegedly infringing photograph is protected under federal
     28   copyright law.
                                                       45
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      1                            EIGHTH AFFIRMATIVE DEFENSE
      2                                     (Copyright Forfeiture)
      3             Plaintiffs’ claim for copyright infringement is barred by the doctrine of
      4   forfeiture. Plaintiffs authorized brokers and other third parties to publish the
      5   allegedly infringing photographs and the resulting publications lacked the required
      6   copyright notice. Plaintiffs thus forfeited any claim to protection under federal
      7   copyright law.
      8                             NINTH AFFIRMATIVE DEFENSE
      9                                            (Fair Use)
     10             Plaintiffs’ claim for copyright infringement is barred by the doctrine of fair
     11   use. Among other things, the allegedly infringing works are of minimal, if any,
     12   creative value, and CREXi’s alleged infringement of those works has not adversely
     13   affected the potential market, if any, for the infringed photographs.
     14                             TENTH AFFIRMATIVE DEFENSE
     15                                            (License)
     16             Plaintiffs’ claim for copyright infringement is barred because CREXi had
     17   permission, license, or implied license to copy the allegedly copyrighted works.
     18   Copyright owners may grant implied licenses by consenting in the form of
     19   permission or common industry practice. Plaintiffs permitted, did not object, and
     20   followed common industry practice when they permitted brokers and other third
     21   parties to upload and access photographs and listing information from their various
     22   websites and databases. This activity is sufficient to be an implied license and bar
     23   Plaintiffs’ copyright infringement claim.
     24                          ELEVENTH AFFIRMATIVE DEFENSE
     25                                         (Acquiescence)
     26             Plaintiffs’ claim for copyright infringement is barred by the doctrine of
     27   acquiescence because Plaintiffs knew of and manifested acquiescence in CREXi’s
     28   allegedly infringing conduct, Plaintiffs intended that CREXi rely on that
                                                       46
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      1   acquiescence, and CREXi reasonably relied to its detriment on Plaintiffs’ actions.
      2                           TWELFTH AFFIRMATIVE DEFENSE
      3                                      (Invalid Registration)
      4             Plaintiffs’ claim for copyright infringement fails to the extent that it relates to
      5   copyrighted photographs where Plaintiffs’ registration application contained
      6   knowingly inaccurate information. See Unicolors, Inc. v. H&M Hennes & Mauritz,
      7   L.P., 959 F.3d 1194 (9th Cir. 2020); 17 U.S.C. § 411(b).
      8                         THIRTEENTH AFFIRMATIVE DEFENSE
      9                              (Infringement Prior to Registration)
     10             Plaintiffs’ claim for copyright infringement is limited to the extent that it
     11   relates to an unpublished photograph that CREXi allegedly infringed before the
     12   effective date of the photograph’s registration with the Copyright Office, or to the
     13   extent that CREXi’s alleged infringement commenced after the first publication of
     14   the work but before the effective date of its registration, and the registration was not
     15   made within three months after the first publication of the work. 17 U.S.C. § 412.
     16                         FOURTEENTH AFFIRMATIVE DEFENSE
     17                                       (Failure to Mitigate)
     18             The First Amended Complaint and each purported cause of action seeking
     19   monetary relief must be reduced, excused, and/or discharged because Plaintiffs
     20   failed to exercise reasonable diligence to mitigate their alleged injuries, including
     21   by failing to timely assert their takedown notice rights under the DMCA.
     22                           FIFTEENTH AFFIRMATIVE DEFENSE
     23                                             (Standing)
     24             Plaintiffs lack standing to bring a claim under California’s False Advertising
     25   Law, Cal. Bus. & Prof. Code § 17500 et seq., and Unfair Competition Law, Cal.
     26   Bus. & Prof. Code § 17200, et seq., because they have not suffered injury-in-fact or
     27   lost money or property as a result of the alleged false advertising and unfair
     28   competition.
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      1                          SIXTEENTH AFFIRMATIVE DEFENSE
      2                                         (No Reliance)
      3             Plaintiffs’ claim under California’s False Advertising Law, Cal. Bus. & Prof.
      4   Code § 17500 et seq., is barred because Plaintiffs did not rely on any representation
      5   or statements alleged to be made by CREXi or any actionable omission attributed to
      6   CREXi.
      7                        SEVENTEENTH AFFIRMATIVE DEFENSE
      8                                     (No Duty to Disclose)
      9             Plaintiffs’ claim under California’s False Advertising Law, Cal. Bus. & Prof.
     10   Code § 17500 et seq., is barred because CREXi did not have a duty to disclose the
     11   information allegedly omitted.
     12                        EIGHTEENTH AFFIRMATIVE DEFENSE
     13                                      (First Amendment)
     14             The First Amended Complaint’s allegations of fraudulent and misleading
     15   conduct are barred under the First Amendment.
     16                         NINETEENTH AFFIRMATIVE DEFENSE
     17                                     (Federal Preemption)
     18             Plaintiffs’ misappropriation claim asserted under California law is barred
     19   because it is preempted in this context by applicable federal law, including but not
     20   limited to Section 301 of the Copyright Act.
     21                         TWENTIETH AFFIRMATIVE DEFENSE
     22                                           (No CMI)
     23             Plaintiffs’ claims under the DMCA fail because, pursuant to the Court’s
     24   June 9, 2021 Order on CREXi’s motion to dismiss, CoStar’s logo does not, as a
     25   matter of law, constitute copyright management information (“CMI”), 17 U.S.C.
     26   § 1202(c).
     27

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      1                        TWENTY-FIRST AFFIRMATIVE DEFENSE
      2                                             (Laches)
      3             The First Amended Complaint and each purported cause of action alleged
      4   therein are barred by the equitable doctrine of laches to the extent that Plaintiffs
      5   seek equitable relief, including but not limited to restitution and temporary,
      6   preliminary, and/or permanent injunctive relief, because Plaintiffs failed to assert
      7   their purported causes of action against CREXi in a timely manner, despite their
      8   actual notice of those alleged causes of action, resulting in prejudice to CREXi.
      9                      TWENTY-SECOND AFFIRMATIVE DEFENSE
     10                                  (Justification and Privilege)
     11             The First Amended Complaint and each purported cause of action therein are
     12   barred to the extent that CREXi’s conduct was justified or privileged because
     13   CREXi complied with all applicable laws, rules, and regulations.
     14                       TWENTY-THIRD AFFIRMATIVE DEFENSE
     15                                            (Mistake)
     16             Plaintiffs’ claims for relief are barred by the doctrine of mistake, including
     17   but not limited to mistake of fact and mistake of law.
     18                      TWENTY-FOURTH AFFIRMATIVE DEFENSE
     19             (No Willful, Intentional, Knowing, or Negligent Failure to Comply)
     20             The First Amended Complaint and each and every cause of action contained
     21   therein are barred in whole or in part because, at all times, CREXi acted reasonably,
     22   in good faith and without malice based upon all relevant facts and circumstances
     23   known by CREXi at the time, and did not at any time willfully, intentionally,
     24   knowingly, or negligently fail to comply with applicable law.
     25                       TWENTY-FIFTH AFFIRMATIVE DEFENSE
     26                                        (Bona Fide Error)
     27             The First Amended Complaint and each and every cause of action contained
     28   therein are barred because to the extent that CREXi violated any applicable
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      1   provision of California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200,
      2   et seq., the violation was unintentional and resulted from a bona fide error
      3   notwithstanding the use of reasonable procedures adopted to avoid any such error.
      4   And on information and belief, CREXi made an appropriate correction or other
      5   remedy of the products once notified of the error.
      6                        TWENTY-SIXTH AFFIRMATIVE DEFENSE
      7                                       (Excessive Damages)
      8             Plaintiffs are at most only entitled to restitution and injunctive relief.
      9   Awarding Plaintiffs excessive damages would violate CREXi’s right to be free
     10   from excessive damages under the Eighth and Fourteenth Amendments of the
     11   United States Constitution, Section Seventeen of the California Constitution, and
     12   state and/or federal law.
     13                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE
     14                            (“Unlawful,” “Fraudulent” or “Unfair”)
     15             The First Amended Complaint and every purported cause of action therein
     16   are barred because the acts or practices complained of were not “unlawful,”
     17   “fraudulent,” or “unfair.”
     18                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE
     19                                             (Consent)
     20             The First Amended Complaint and every purported cause of action therein
     21   are barred because Plaintiffs expressly and/or impliedly consented to the conduct,
     22   acts, or omissions complained of in the First Amended Complaint.
     23                        TWENTY-NINTH AFFIRMATIVE DEFENSE
     24                                              (Waiver)
     25             By their conduct and/or agreement between the parties, Plaintiffs have
     26   waived any right to recover any relief pursuant to the First Amended Complaint, or
     27   any purported cause of action alleged therein.
     28

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                             CREXI’S ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
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      1                          THIRTIETH AFFIRMATIVE DEFENSE
      2                                           (Estoppel)
      3             The First Amended Complaint and every purported cause of action therein
      4   are barred by the doctrine of estoppel. Plaintiffs have made statements and
      5   committed acts inconsistent with the claims they advance here, upon which CREXi
      6   relied, and which, if repudiated, would cause injury to CREXi. Among other
      7   things, Plaintiffs have represented in court that they have long accessed brokers’
      8   publicly accessible commercial real estate listings on competitors’ websites in order
      9   to obtain information for their own products, and represented to the Federal Trade
     10   Commission that they would not directly or indirectly prevent brokers from sharing
     11   information with competitors. CREXi reasonably relied upon these representations
     12   in creating listings for brokers, and would be injured if Plaintiffs were allowed to
     13   repudiate those representations through their claims here.
     14                        THIRTY-FIRST AFFIRMATIVE DEFENSE
     15                                      (Equitable Estoppel)
     16             The First Amended Complaint and every purported cause of action therein
     17   are barred by the doctrine of equitable estoppel because Plaintiffs knew about
     18   CREXi’s allegedly infringing conduct, Plaintiffs intended that their conduct be
     19   acted upon by CREXi, CREXi was ignorant of Plaintiffs’ alleged copyrights in the
     20   infringing photographs, and CREXi relied upon Plaintiffs’ conduct to its detriment.
     21                      THIRTY-SECOND AFFIRMATIVE DEFENSE
     22                             (No Mutual Manifestation of Assent)
     23             Plaintiffs’ claim for breach of contract fails because there was no mutual
     24   manifestation of assent, including but not limited to because no CREXi employee
     25   assented to Plaintiffs’ online Terms of Use, and, even if they did, those employees
     26   did not enter into any contract on CREXi’s behalf.
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      1                        THIRTY-THIRD AFFIRMATIVE DEFENSE
      2                                  (No Authority to Bind CREXi)
      3             Plaintiffs’ claim for breach of contract fails to the extent that it relates to
      4   contracts allegedly entered into by CREXi employees who lacked authority to bind
      5   CREXi to the contracts.
      6                       THIRTY-FOURTH AFFIRMATIVE DEFENSE
      7                                    (Unenforceable Contract)
      8             Plaintiffs’ claim for breach of contract is barred because the alleged contracts
      9   are unenforceable as unconscionable and for reasons of public policy. Plaintiffs’
     10   prohibition on competitive use imposes a restraint on trade greater than any
     11   legitimate interest Plaintiffs might have in what they claim to be “proprietary” data.
     12   In addition, Plaintiffs’ restrictions violate state and federal antitrust laws because
     13   they are anticompetitive in intent and effect.
     14                         THIRTY-FIFTH AFFIRMATIVE DEFENSE
     15                                       (No Injury or Harm)
     16             Plaintiffs’ claim for breach of contract fails because Plaintiffs were not
     17   injured or harmed as a result of any alleged breach by CREXi.
     18                         THIRTY-SIXTH AFFIRMATIVE DEFENSE
     19                                   (Adequate Remedy at Law)
     20             Plaintiffs have an adequate remedy at law. Therefore, injunctive, equitable,
     21   and/or declaratory relief is inappropriate.
     22                                               * * *
     23                      RIGHT TO ASSERT ADDITIONAL DEFENSES
     24             CREXi reserves the right to assert additional affirmative defenses at such
     25   time and to such extent as warranted by discovery and the factual developments in
     26   this case.
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      1                                             * * *
      2                                   PRAYER FOR RELIEF
      3             WHEREFORE, CREXI prays for judgment in its favor and against
      4   Plaintiffs as follows:
      5             1.    That the First Amended Complaint and causes of action asserted
      6   against CREXi be dismissed with prejudice;
      7             2.    That Plaintiffs take nothing by way of the First Amended Complaint;
      8             3.    That CREXi recover attorneys’ fees, costs, and disbursements in this
      9   action to the extent permitted by statute or contract; and
     10             4.    That the Court provide such further relief as it deems just and proper.
     11                                             * * *
     12                                       JURY DEMAND
     13             Pursuant to Federal Rule of Civil Procedure 38(b) and Local Rule 38-1,
     14   CREXi respectfully requests a trial by jury on all claims and counterclaims.
     15

     16   Dated: June 23, 2021                      KEKER, VAN NEST & PETERS LLP
     17

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                                               By: /s/ Elliot R. Peters
     19                                            ELLIOT R. PETERS
     20                                             Attorneys for Defendant
                                                    COMMERCIAL REAL ESTATE
     21                                             EXCHANGE, INC.
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